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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                                    EASTERN DISTRICT OF VIRGINIA
                                                                                                           29 A i|: 5c
                                                 Alexandria Division



 UNITED STATES OF AMERICA


          V.

                                                                 No.l:16-CR-214
 DIONNE CASTRO,

                        Defendant.
                                                                       UNDER SEAL
                     GOVERNMENT'S MOTION TO UNSEAL INDICTMENT


          The United States, by and through undersigned counsel, respectfully requests that this

 Court unseal the Indictment in this case. Although the defendant has not yet been apprehended,

 the Government believes it is no longer appropriate to keep the case under seal.


                                                         Sincerely,

                                                         JESSIE K. LIU
                                                         UNITED STATES ATTORNEY


                                                By:
                                                         PetCT C. Lallas'
                                                         Special Attorney to the Attorney General
                                                         Assistant United States Attorney
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'Due to the recusal of the United States Attorney's Office for the Eastern District of Virginia, the Associate Deputy
Attorney General appointed the United States Attorney for the District of Columbia to handle the investigation and
prosecution of this matter and the Executive Office for United States Attorneys appointed the undersigned as a
Special Attorney to appear in this district for this case.
